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                           THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION
NICHOLAS NUTTER, et al.,                           )     Case No. 2:19-cv-02462
                                                   )
                 Plaintiffs,                       )     Judge Michael H. Watson
                                                   )
v.                                                 )      Chief Magistrate Judge Elizabeth P.
                                                   )      Deavers
THE OHIO STATE UNIVERSITY,                         )
                                                   )
                Defendant.                         )

                         NOTICE OF WITHDRAWAL OF COUNSEL

         Defendant The Ohio State University (“Ohio State”) hereby gives notice of the withdrawal

of Stephen E. Dutton as co-counsel for Ohio State in the above-captioned case. Attorneys

Michael H. Carpenter, Timothy R. Bricker, and David J. Barthel will remain counsel for Ohio

State.

                                              Respectfully submitted,

                                              /s/ Stephen E. Dutton
                                              Stephen E. Dutton (0096064)

                                              /s/ Michael H. Carpenter
                                              Michael H. Carpenter (0015733) (Trial Attorney)
                                              Timothy R. Bricker (0061872)
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                                              Special Counsel for Defendant
                                              The Ohio State University
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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was served this 28th day of August, 2020, by

the Court’s ECF filing system upon all counsel of record.



                                            /s/ Michael H. Carpenter
                                            Trial Attorney for
                                            Defendant The Ohio State University
